United States v. Denka Performance Elastomer, LLC et al. (2:23-cv-735)


     United States’ Motion to Reopen Case and Set Status Hearing




                           Exhibit D
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA

                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                Plaintiff,                         )      CIVIL ACTION NO. 2:23-cv-735
                                                   )
        v.                                         )      SECTION J
                                                   )
DENKA PERFORMANCE ELASTOMER,                       )      JUDGE BARBIER
LLC and DUPONT SPECIALTY                           )
PRODUCTS USA, LLC,                                 )      MAGISTRATE JUDGE NORTH
                                                   )
                Defendants.                        )
                                                   )

                     DENKA PERFORMANCE ELASTOMER LLC’S
             NOTICE OF SERVICE OF NON-PARTY SUBPOENA DUCES TECUM

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 45, Defendant

Denka Performance Elastomer LLC (“DPE”) will serve the attached subpoena duces tecum upon

Maryum Jordan on October 26, 2023 or as soon thereafter as service may be effectuated.

        The material requested in Exhibit A of the subpoena has been requested to be produced at

the offices of Bracewell LLP, 2001 M Street NW, Suite 900, Washington, District of Columbia

20036, or at an alternative location mutually agreed to by DPE and Maryum Jordan.




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#101746029v1
Dated: October 25, 2023



                                           Respectfully submitted,

s/Brett S. Venn________________________
JONES WALKER LLP                           David A. Super (pro hac vice)
James C. Percy (La. Bar No. 10413)         Jason B. Hutt (pro hac vice)
445 N. Boulevard, Suite 800                Jeffrey R. Holmstead (pro hac vice)
Baton Rouge, LA 70802                      Britt Cass Steckman (pro hac vice)
Telephone: (225) 248-2130                  Kevin M. Voelkel (pro hac vice)
Facsimile: (225) 248-3130                  BRACEWELL LLP
jpercy@joneswalker.com                     2001 M Street NW, Ste. 900
                                           Washington, DC 20006
Robert E. Holden (La. Bar No. 06935)       Telephone: (202) 828-5800
Brett S. Venn (La. Bar No. 32954)          david.super@bracewell.com
201 St. Charles Ave., Suite 5100           jason.hutt@bracewell.com
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bholden@joneswalker.com
bvenn@joneswalker.com

                      Counsel for Denka Performance Elastomer LLC




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#101746029v1
                               CERTIFICATE OF SERVICE

I hereby certify that on October 25, 2023, a true and correct copy of Denka Performance
Elastomer LLC’s Notice of Service of Non-Party Subpoena Duces Tecum was served on the
following counsel for the parties via electronic mail, by agreement of the parties, to the
following:

FOR THE UNITED STATES OF AMERICA:

Steven D. Shermer
Environmental Enforcement Section
Environment and Natural Resources Division
United States Department of Justice
P. O. Box 7611
Washington, DC 2004-7611
Steven.Shermer@usdoj.gov


FOR DUPONT SPECIALTY PRODUCTS USA, LLC:

Eric Jarrell
King & Jurgens, LLC
201 St. Charles Avenue
45th Floor
New Orleans, LA 70170
ejarrell@kingjurgens.com


                           ___________s/Brett S. Venn___________
                                       Brett S. Venn




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#101746029v1
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Eastern District
                                                       __________         of of
                                                                   District  Louisiana
                                                                                __________
                   United States of America
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 23-735
   Denka Performance Elastomer, LLC and DuPont
                                                                              )
           Specialty Products USA, LLC
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                                 Maryum Jordan
To:                                                6000 35th Avenue, Hyattsville, MD 20782-2922
                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See attached exhibit.



 Place: Bracewell LLP                                                                   Date and Time:
           2001 M Street, NW, Suite 900
           Washington, DC 20036-3310                                                              November 9, 2023 at 9:00 a.m. EDT

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: 10/25/2023

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                      s/Brett S. Venn
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party) Denka Performance
Elastomer LLC                                                           , who issues or requests this subpoena, are:
Brett S. Venn, Jones Walker LLP, 201 St. Charles Avenue, New Orleans, LA 70170, bvenn@joneswalker.com,
504-582-8116

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 23-735

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                      for travel and $                             for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
1.      Federal Rule of Civil Procedure 45. Subpoena
(a) In General.
(1) Form and Contents.
(A) Requirements—In General. Every subpoena must:
(i) state the court from which it issued;
(ii) state the title of the action and its civil-action number;
(iii) command each person to whom it is directed to do the following at a specified time and place:
attend and testify; produce designated documents, electronically stored information, or tangible things
in that person’s possession, custody, or control; or permit the inspection of premises; and
(iv) set out the text of Rule 45(d) and (e).
(B) Command to Attend a Deposition—Notice of the Recording Method. A subpoena commanding
attendance at a deposition must state the method for recording the testimony.
(C) Combining or Separating a Command to Produce or to Permit Inspection; Specifying the Form for
Electronically Stored Information. A command to produce documents, electronically stored
information, or tangible things or to permit the inspection of premises may be included in a subpoena
commanding attendance at a deposition, hearing, or trial, or may be set out in a separate subpoena. A
subpoena may specify the form or forms in which electronically stored information is to be produced.
(D) Command to Produce; Included Obligations. A command in a subpoena to produce documents,
electronically stored information, or tangible things requires the responding party to permit inspection,
copying, testing, or sampling of the materials.
(2) Issuing Court. A subpoena must issue from the court where the action is pending.
(3) Issued by Whom. The clerk must issue a subpoena, signed but otherwise in blank, to a party who
requests it. That party must complete it before service. An attorney also may issue and sign a
subpoena if the attorney is authorized to practice in the issuing court.
(4) Notice to Other Parties Before Service. If the subpoena commands the production of documents,
electronically stored information, or tangible things or the inspection of premises before trial, then
before it is served on the person to whom it is directed, a notice and a copy of the subpoena must be
served on each party.

(b) Service.
(1) By Whom and How; Tendering Fees. Any person who is at least 18 years old and not a party may serve a
subpoena. Serving a subpoena requires delivering a copy to the named person and, if the subpoena
requires that person’s attendance, tendering the fees for 1 day’s attendance and the mileage allowed
by law. Fees and mileage need not be tendered when the subpoena issues on behalf of the United
States or any of its officers or agencies.
(2) Service in the United States. A subpoena may be served at any place within the United States.
(3) Service in a Foreign Country. 28 U.S.C. § 1783 governs issuing and serving a subpoena directed to a
United States national or resident who is in a foreign country.
(4) Proof of Service. Proving service, when necessary, requires filing with the issuing court a statement
showing the date and manner of service and the names of the persons served. The statement must be
certified by the server.

(c) Place of Compliance.
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person to attend a trial, hearing, or
deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or regularly transacts business in
person; or
(B) within the state where the person resides, is employed, or regularly transacts business in person,
if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial expense.
(2) For Other Discovery. A subpoena may command:
(A) production of documents, electronically stored information, or tangible things at a place within 100
miles of where the person resides, is employed, or regularly transacts business in person; and
(B) inspection of premises at the premises to be inspected.



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(d) Protecting a Person Subject to a Subpoena; Enforcement.
(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing and serving a
subpoena must take reasonable steps to avoid imposing undue burden or expense on a person subject
to the subpoena. The court for the district where compliance is required must enforce this duty and
impose an appropriate sanction—which may include lost earnings and reasonable attorney’s fees—on a
party or attorney who fails to comply.
(2) Command to Produce Materials or Permit Inspection.
(A) Appearance Not Required. A person commanded to produce documents, electronically stored
information, or tangible things, or to permit the inspection of premises, need not appear in person at
the place of production or inspection unless also commanded to appear for a deposition, hearing, or
trial.
(B) Objections. A person commanded to produce documents or tangible things or to permit inspection
may serve on the party or attorney designated in the subpoena a written objection to inspecting,
copying, testing, or sampling any or all of the materials or to inspecting the premises—or to producing
electronically stored information in the form or forms requested. The objection must be served before
the earlier of the time specified for compliance or 14 days after the subpoena is served. If an objection
is made, the following rules apply:
(i) At any time, on notice to the commanded person, the serving party may move the court for the
district where compliance is required for an order compelling production or inspection.
(ii) These acts may be required only as directed in the order, and the order must protect a person who
is neither a party nor a party’s officer from significant expense resulting from compliance.
(3) Quashing or Modifying a Subpoena.
(A) When Required. On timely motion, the court for the district where compliance is required must
quash or modify a subpoena that:
(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in Rule 45(c);
(iii) requires disclosure of privileged or other protected matter, if no exception or waiver applies; or
(iv) subjects a person to undue burden.
(B) When Permitted. To protect a person subject to or affected by a subpoena, the court for the
district where compliance is required may, on motion, quash or modify the subpoena if it requires:
(i) disclosing a trade secret or other confidential research, development, or commercial information; or
(ii) disclosing an unretained expert’s opinion or information that does not describe specific occurrences
in dispute and results from the expert’s study that was not requested by a party.
(C) Specifying Conditions as an Alternative. In the circumstances described in Rule 45(d)(3)(B), the
court may, instead of quashing or modifying a subpoena, order appearance or production under
specified conditions if the serving party:
(i) shows a substantial need for the testimony or material that cannot be otherwise met without undue
hardship; and
(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.
(1) Producing Documents or Electronically Stored Information. These procedures apply to producing documents
or electronically stored information:
(A) Documents. A person responding to a subpoena to produce documents must produce them as they
are kept in the ordinary course of business or must organize and label them to correspond to the
categories in the demand.
(B) Form for Producing Electronically Stored Information Not Specified. If a subpoena does not specify
a form for producing electronically stored information, the person responding must produce it in a
form or forms in which it is ordinarily maintained or in a reasonably usable form or forms.
(C) Electronically Stored Information Produced in Only One Form. The person responding need not
produce the same electronically stored information in more than one form.
(D) Inaccessible Electronically Stored Information. The person responding need not provide discovery
of electronically stored information from sources that the person identifies as not reasonably
accessible because of undue burden or cost. On motion to compel discovery or for a protective order,
the person responding must show that the information is not reasonably accessible because of undue
burden or cost. If that showing is made, the court may nonetheless order discovery from such sources
if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
may specify conditions for the discovery.

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(2) Claiming Privilege or Protection.
(A) Information Withheld. A person withholding subpoenaed information under a claim that it is
privileged or subject to protection as trial-preparation material must:
(i) expressly make the claim; and
(ii) describe the nature of the withheld documents, communications, or tangible things in a manner
that, without revealing information itself privileged or protected, will enable the parties to assess the
claim.
(B) Information Produced. If information produced in response to a subpoena is subject to a claim of
privilege or of protection as trial-preparation material, the person making the claim may notify any
party that received the information of the claim and the basis for it. After being notified, a party must
promptly return, sequester, or destroy the specified information and any copies it has; must not use
or disclose the information until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly present the information
under seal to the court for the district where compliance is required for a determination of the claim.
The person who produced the information must preserve the information until the claim is resolved.

(f) Transferring a Subpoena-Related Motion. When the court where compliance is required did not issue
the subpoena, it may transfer a motion under this rule to the issuing court if the person subject to the
subpoena consents or if the court finds exceptional circumstances. Then, if the attorney for a person
subject to a subpoena is authorized to practice in the court where the motion was made, the attorney
may file papers and appear on the motion as an officer of the issuing court. To enforce its order, the
issuing court may transfer the order to the court where the motion was made.

(g) Contempt. The court for the district where compliance is required—and also, after a motion is
transferred, the issuing court—may hold in contempt a person who, having been served, fails without
adequate excuse to obey the subpoena or an order related to it.




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                                           EXHIBIT A
                                        (MARYUM JORDAN)

I.       Definitions

         “CCSJ” means “Concerned Citizens of St. John,” “The Concerned Citizens of St. John,
         Inc.,” or “Association of Concerned Citizens of St. John.”



II.      Document Requests

      1. Please provide all documents compiled and/or reviewed in support of the article,
         Reflections on Fighting Environmental Racism in St. John the Baptist Parish, Louisiana
         published in the Harvard Civil Rights-Civil Liberties Law Review, including any
         documents reflecting or relating to the following interviews cited in the article:

               a. Interview with Gloria Dumas, Member of CCSJ (Nov. 1, 2021)

               b. Interview with Robert Taylor, Executive Director of CCSJ (Aug. 6, 2021)

               c. Interview with Geraldine Watkins, Member of CCSJ (Nov. 1, 2021)

               d. Interview with Mary Hampton, President, CCSJ (Aug. 6, 2021).

               e. Interview with Ruhan Nagra, Dir. of Env’t Justice Initiative & Senior Clinical
                  Supervisor, Univ. Network for Human Rights (July 26, 2021)

               f. Interview with Kimberly Terrell, Research Scientist, Tulane Environmental Law
                  Clinic (July 28, 2021)

               g. Interview with Lydia Gerard, Sec’y, CCSJ (Sept. 9, 2021)

               h. Interview with Michelle Mabson, Staff Scientist, Earthjustice (Sept. 30, 2021).

               i. Interview with Emma Cheuse, Staff Attorney, Earthjustice (Sept. 30, 2021).




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